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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               ) Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       ) MS. HOLMES’ NOTICE OF APPEAL
16                                           )
       v.                                    ) Hon. Edward J. Davila
17                                           )
     ELIZABETH HOLMES and                    )
18   RAMESH “SUNNY” BALWANI,                 )
                                             )
19          Defendants.                      )
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     MS. HOLMES’ NOTICE OF APPEAL
     CR-18-00258-EJD
             Case 5:18-cr-00258-EJD Document 1670 Filed 12/02/22 Page 2 of 3




 1                                           NOTICE OF APPEAL

 2          Notice is given that Defendant Elizabeth Holmes hereby appeals to the United States Court of

 3 Appeals for the Ninth Circuit from the final judgment of the district court announced in this action on

 4 November 18, 2022 (“Judgment”); from any and all adverse rulings incorporated in, antecedent to, or

 5 ancillary to the Judgment; and from any and all adverse interlocutory orders, judgments, decrees,

 6 decisions, rulings, and opinions that merged into and became part of the Judgment, that shaped the

 7 Judgment, that are related to the Judgment, or upon which the Judgment is based. Dkt. 1660.

 8          Once the district court enters the Judgment on the docket, this notice of appeal shall be “treated

 9 as filed on the date of and after the entry” of final judgment pursuant to Fed. R. App. P. 4(b)(2).

10

11 Dated: December 2, 2022                                Respectfully submitted,

12
                                                          /s/ Amy Mason Saharia
13                                                        KEVIN DOWNEY
                                                          LANCE WADE
14                                                        AMY MASON SAHARIA
                                                          KATHERINE TREFZ
15                                                        Attorneys for Elizabeth Holmes
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     MS. HOLMES’ NOTICE OF APPEAL
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on December 2, 2022 a copy of this filing was delivered via ECF on all

 3 counsel of record.

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 5
                                                        /s/ Amy Mason Saharia
 6                                                      AMY MASON SAHARIA
                                                        Attorney for Elizabeth Holmes
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28 MS. HOLMES’ NOTICE OF APPEAL
   CR-18-00258-EJD
